                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                           NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )       Criminal No. 2:11-00002
                                                    )       Judge Trauger
[9] HOWARD WAYNE BELL                               )

                                           ORDER

       It is hereby ORDERED that the Memorandum prepared by the Probation Office at the

court’s request (Docket No. 1747) shall be made a part of the record of this case and a copy

furnished to the defendant where he is presently housed. Based upon the information in this

Memorandum, to the extent that the defendant’s letter to the court requests any relief (Docket

No. 1748), that request is DENIED.

       It is so ORDERED.

       ENTER this 26th day of August 2014.




                                                    ________________________________
                                                          ALETA A. TRAUGER
                                                            U.S. District Judge




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